            Case 1:19-cr-00658-LTS Document 11 Filed 12/30/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :          15-CR-333 (LTS)
                                                                       :          19-CR-658 (LTS)
ANDREI TYURIN,                                                         :
                                                                       :              ORDER
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LAURA TAYLOR SWAIN, United States District Judge:

                 The continued sentencing hearing in this case, currently scheduled for January 7,

2021, at 9:00 a.m., is hereby rescheduled to occur as a videoconference using the CourtCall

platform on January 7, 2021, at 11:00 a.m. As requested, defense counsel will be given an

opportunity to speak with the Defendant by telephone for fifteen minutes before the sentencing

proceeding begins (i.e., at 10:45 a.m.); defense counsel should make sure to answer the

telephone number that was previously provided to Chambers at that time. (Chambers will

provide counsel with a telephone number at which the interpreter can be reached at the time of

the pre-conference; it is counsel’s responsibility to conference the interpreter in with the

Defendant for the pre-conference.)

                 To optimize the quality of the video feed, only the Court, the Defendant, defense

counsel, and counsel for the Government will appear by video for the proceeding; all others will

participate by telephone. Due to the limited capacity of the CourtCall system, only one counsel

per party may participate. Co-counsel, members of the press, and the public may access the

audio feed of the conference by calling 855-268-7844 and using access code 32091812# and PIN

9921299#.



TYURIN - COURTCALL JAN 7 SENTC ORD.DOCX                   VERSION DECEMBER 30, 2020                  1
          Case 1:19-cr-00658-LTS Document 11 Filed 12/30/20 Page 2 of 3




               In advance of the conference, Chambers will email the parties with further

information on how to access the conference. Those participating by video will be provided a

link to be pasted into their browser. The link is non-transferrable and can be used by only

one person; further, it should be used only at the time of the conference because using it earlier

could result in disruptions to other proceedings.

               To optimize use of the CourtCall technology, all those participating by video

should:

           1. Use the most recent version of Firefox, Chrome, or Safari as the web browser. Do
              not use Internet Explorer.

           2. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
              as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
              may cause delays or dropped feeds.)

           3. Minimize the number of others using the same WiFi router during the conference.

Further, all participants must identify themselves every time they speak, spell any proper names

for the court reporter, and take care not to interrupt or speak over one another. Finally, all of

those accessing the conference — whether in listen-only mode or otherwise — are reminded that

recording or rebroadcasting of the proceeding is prohibited by law.

               If CourtCall does not work well enough and the Court decides to transition to its

teleconference line, counsel should call 888-363-4734 and use access code 1527005# and

password 1239#. (Members of the press and public may call the same number, but will not be

permitted to speak during the conference.) In that event, counsel should adhere to the following

rules and guidelines during the hearing:

           1. Each party should designate a single lawyer to speak on its behalf (including
              when noting the appearances of other counsel on the telephone).

           2. Counsel should use a landline whenever possible, should use a headset instead of
              a speakerphone, and must mute themselves whenever they are not speaking to
              eliminate background noise. In addition, counsel should not use voice-activated


TYURIN - COURTCALL JAN 7 SENTC ORD.DOCX             VERSION DECEMBER 30, 2020                        2
          Case 1:19-cr-00658-LTS Document 11 Filed 12/30/20 Page 3 of 3




               systems that do not allow the user to know when someone else is trying to speak
               at the same time.

           3. To facilitate an orderly teleconference and the creation of an accurate transcript,
              counsel are required to identify themselves every time they speak. Counsel
              should spell any proper names for the court reporter. Counsel should also take
              special care not to interrupt or speak over one another.

           4. If there is a beep or chime indicating that a new caller has joined while counsel is
              speaking, counsel should pause to allow the Court to ascertain the identity of the
              new participant and confirm that the court reporter has not been dropped from the
              call.

               To the extent that there are any remaining documents relevant to the proceeding

(e.g., proposed orders or documents regarding restitution, forfeiture, or removal), counsel should

submit them to the Court (by email or on ECF, as appropriate) at least at least 24 hours prior to

the proceeding. To the extent any documents require the Defendant’s signature, defense

counsel should endeavor to get them signed in advance of the proceeding as set forth above; if

defense counsel is unable to do so, the Court will conduct an inquiry during the proceeding to

determine whether it is appropriate for the Court to add the Defendant’s signature.

       SO ORDERED.

Dated: December 30, 2020                             /s/ Laura Taylor Swain
       New York, New York                            Laura Taylor Swain
                                                     United States District Judge




TYURIN - COURTCALL JAN 7 SENTC ORD.DOCX          VERSION DECEMBER 30, 2020                          3
